Case 2:11-cv-12422-AC-MKM ECF No. 129-18, PagelD.2164 Filed 07/28/14 Page 1 of 4

EXHIBIT 17
Life Expectngysat Birth by Race art Sox.J 99020110 Hafeplkase.daM0-18, Page|lD.2165 Ripe dvOm BEdpléascRagipa/ 40005148. html

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United States > U.S. Statistics > Mortality

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Life Expectancy at Birth by Race and Sex, 1930-2010

Learn the life expectancy (measured at birth) of American men and women, differentiated by race. For the 2010,
the latest data available, the life expectancy for men of all races is 76.2 years and 81.1 years for women.

Year
2010
2007
2006
2005

2004'
2003
2002
2001
2000
1999
1998
1997
1996
1995
1994
1993
1992
1991

All races

White

Both sexes Male Female Both sexes Male

78.7
77.9
77.7
77.8
77.8
77.5
77.3
77.2
77.0
76.7
76.7
76.5
76.1
75.8
75.7
75.5
75.8
75.5

76.2
75.4
75.1
75.2
75.2
74.8
74.5
74.4
74.3
73.9
73.8
73.6
73.1
72.5
72.4
72.2
72.3
72.0

81.1
80.4
80.2
80.4
80.4
80.1
79.9
79.8
79.7
79.4
79.5
79.4
79.1
78.9
79.0
78.8
79.1
78.9

79.0
78.4
78.2
78.3
78.3
78.0
77.7
77.7
77.6
77.3
77.3
77.2
76.8
76.5
76.5
76.3
76.5
76.3

76.5
75.9
75.7
15.7
75.7
75.3
75.1
75.0
74.9
14.6
74.5
74.3
73.9
73.4
73.3
73.1
73.2
12.9

Black

Female Both sexes Male

81.3
80.8
80.6
80.8
80.8
80.5
80.3
80.2
80.1
79.9
80.0
79.9
79.7
79.6
79.6
19.5
79.8
79.6

75.1
73.6
13.2
73.2
73.1
72.7
72.3
72.2
71.9
71.4
71.3
71.1
70.2
69.6
69.5
69.2
69.6
69.3

71.8
70.0
69.7
69.5
69.8
69.0
68.8
68.6
68.3
67.8
67.6
67.2
66.1
65.2
64.9
64.6
65.0
64.6

Female
78.0
76.8
76.5
76.5
76.3
76.1
75.6
75.5
75.2
74.7
74.8
74.7
74.2
73.9
73.9
73.7
73.9
73.8

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Life Expectenayset Birth by Rate aS 93020110 Adfeplbase.coB0-18, PagelD.2166 RibedvGwW 2EdpléasdRemdpa/ 40005 148. html

2 of 3

1990
1989
1988
1987
1986
1985
1984
1983
1982
1981
1980
1979
1978
1977
1976
1975
1974
1973
19727
1971
1970
1960
1950
1940
1935
1930

(—) Data not available.
1. Preliminary data.

2. Deaths based on a 50% sample.

75.4
75.1
74.9
74.9
14.7
74.7
74.7
74.6
74.5
74.1
13.7
73.9
73.5
73.3
12.9
12.6
72.0
71.4
71.2
71.1
70.8
69.7
68.2
62.9
61.7
59.7

71.8
71.7
71.4
71.4
71.2
71.1
71.1
71.0
70.8
70.4
70.0
70.0
69.6
69.5
69.1
68.8
68.2
67.6
67.4
67.4
67.1
66.6
65.6
60.8
59.9
58.1

78.8
78.5
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78.2
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78.1
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774
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76.6
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75.3
75.1
75.0
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71.1
65.2
§3.9
61.6

76.1
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75.3
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72.0
71.7
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69.1
64.2
62.9
61.4

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79.4
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77.3
76.7
76.1
75.9
75.8
75.6
74.1
72.2
66.6
65.0
63.5

Source: National Center for Health Statistics, National Vital Statistics Reports. Web:www.cdc.gownchs.

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Life Expectancy by Age,

1850~2004

Mortality

Deaths by Major Causes,
1960-2004

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